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                                         United States District Court
                                          Western District of Texas
                                                   Austin
                                             Deficiency Notice


To:            Howenstine, Zachary C.
From:          Court Operations Department, Western District of Texas
Date:          Friday, November 16, 2018
Re:            01:17-CV-00365-DAE / Doc # 222 / Filed On: 11/15/2018 06:58 PM CST


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